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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO:
  KEVIN TELLADO,

                 Petitioner,

  v.

  WILLIAM BARR, in his
  official capacity as Attorney General,
  Kevin McAleenan, in his official capacity as Acting
  Secretary of the United States Department
  of Homeland Security, L. Francis Cissna,
  in his official capacity as Director,
  U.S. Citizenship and Immigration Services,
  and Enid Stulz, in his official capacity as
  Field Office Director, U.S. Citizenship and
  Immigration Services, Miami Field Office,
  Linda Swacina, in her official capacity as
  District Director U.S. Citizenship and
  Immigration Services, Miami Field Office,

                 Respondents.
                                                /

            COMPLAINT AND PETITION FOR NATURALIZATION HEARING
         Petitioner, KEVIN TELLADO, (hereinafter “Petitioner” or “Mr. Tellado”), through

  counsel, files the instant action under 8 U.S.C. § 1447(b) and alleges:

                                         INTRODUCTION

  1.     This is an action seeking a hearing in this Court on Plaintiff’s application for

  naturalization, or in the alternative, an Order from the Court directing the respondents to

  complete the processing of the application and make a determination within 30 days.

  2.     Pursuant to Section 1447(b) of the United State Code, Title 8, United States Citizenship

  and Immigration Services (“USCIS”) is required to make a decision on an application for

  naturalization within 120 days of the naturalization examination. To this date, USCIS has failed




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  to issue a decision, more than one-hundred and twenty (120) days since Mr. Tellado passed his

  naturalization examination.

  3.     Mr. Tellado filed his N-400 application on July 9, 2018. Mr. Tellado was granted an

  interview and appeared for a naturalization interview with USCIS on December 10, 2018. Mr.

  Tellado passed the English and Civics tests portion of the interview and was told that there

  would be further processing. However, USCIS has not issued a decision on Mr. Tellado’s

  application within 120 days of passing his naturalization examination.

                                 JURISDICTION AND VENUE


  4.     This Court has direct and exclusive jurisdiction over this matter with the filing of this

  Petition. This jurisdiction is provided for by 8 U.S.C. §1421(e); 8 U.S.C. §1447(b); and 28

  U.S.C. §1331.    There is no requirement for administrative exhaustion because the agency has

  failed to act on this application beyond the 120 days provided for in the statute. The failure to

  act on the underlying application after Mr. Tellado was interviewed provides the Court with

  exclusive jurisdiction to decide the case on its merits. See, U.S. v. Hovsepian, 359 F.3d 1144,

  1164 (9th Cir. 2004) (en banc). This action arises under 8 U.S.C. § 1447(b) and the

  Administrative Procedure Act (the “APA”), 5 U.S.C. §§ 701 et seq. Subject matter jurisdiction is

  based upon 28 U.S.C. § 1331. Relief is authorized by 8 U.S.C. § 1447(b), which provides that a

  naturalization applicant may apply to a United States District Court for a hearing on the

  application if USCIS fails to make a determination on the application within 120 days after

  conducting the examination.

  5.     The District Courts’ jurisdiction under 8 U.S.C. § 1447(b) is exclusive. Bustamante v.

  Napolitano, 582 F.3d 402 (2d Cir. 2009).




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  6.     Venue is proper in the Southern District of Florida pursuant to 8 U.S.C. § 1447(b), which

  requires the naturalization applicant to file the complaint with the “United States district court for

  the district in which the applicant resides.” Mr. Tellado resides at 14195 Old Sheridan Street,

  Pembroke Pines, FL 33026, within the jurisdiction of the Southern District of Florida.

  7.     To the extent that the Government’s actions in this matter are not supported by

  substantial justification, attorney’s fees are appropriate. The Equal Access to Justice Act, as

  amended, 5 U.S.C. § 504 and 28 U.S.C. § 2412 (the "EAJA"), provides for the award of costs

  and attorney's fees to a prevailing party in litigation against the United States or one of its

  agencies.

  8.     The EAJA has been invoked to justify the award of attorney fees and costs in

  immigration cases. See, e.g., Commissioner, Immigration and Naturalization Service v. Jean,

  496 U.S. 154 (1990); accord Dabone v. Thornburgh, 734 F. Supp. 195 (E.D. PA 1990) and

  Harriott v. Ashcroft, 277 F. Supp. 2d 538, 545-46 (E.D. Pa. 2003).

                                               PARTIES

  9.     Petitioner Tellado is a 28-year old resident of Southwest Ranches, Florida, who has been

  a lawful permanent resident (“LPR”) for 12 years, since July 3, 2007. Mr. Tellado applied for

  naturalization on July 9, 2018, and on December 10, 2018, he passed all required portions of his

  naturalization interview and examination. He has been waiting for a decision on his application

  ever since that date.

  10.    Defendant, WILLIAM BARR, in his official capacity as Attorney General is being

  sued in his official capacity as the Attorney General of the United States. In this capacity, he is

  responsible for the administration and enforcement of the laws of the United States. His mission

  is to enforce the law and defend the interests of the United States according to the law; to ensure



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  public safety against threats foreign and domestic; to provide federal leadership in preventing

  and controlling crime; to seek just punishment for those guilty of unlawful behavior; and to

  ensure fair and impartial administration of justice for all Americans. His address is U.S.

  Department of Justice, 950 Pennsylvania Avenue, NW, Washington, DC 20530-0001

  11.    Respondent Kevin McAleenan is being sued in his official capacity as the Acting

  Secretary of the Department of Homeland Security (“DHS”). In this capacity, he is

  responsible for the administration and enforcement of the immigration and naturalization laws. 8

  U.S.C. § 1103(a). His address is Department of Homeland Security, U.S. Department of

  Homeland Security, Washington, D.C. 20528.

  12.    Respondent, DEPARTMENT OF HOMELAND SECURITY (“DHS”) is the federal

  parent agency of the USCIS and agency responsible for the administration and enforcement of

  the country’s immigration and naturalization laws.

  13.    Respondent Enid Stulz is being sued in his official capacity as the Field Office Director

  of the Hialeah District, United States Citizenship and Immigration Services. As District

  Director, he is designated by the Secretary of Homeland Security to administer and enforce the

  immigration laws within Miami. One of the duties of USCIS is the processing of naturalization

  applications. He maintains his office at 5880 NW 183 Street, Hialeah, FL 33015.

  14.    Respondent L. Francis Cissna, is being sued in his official capacity as the Director of

  U.S. Citizenship and Immigration Services, a component agency within the U.S. Department

  of Homeland Security. USCIS is the agency responsible for the adjudication of applications for

  naturalization. His address is 20 Massachusetts Ave. NW, Washington, D.C. 20529.

  15.    Respondent, Linda Swacina, is being sued in her official capacity as the District

  Director of the Miami District, United States Citizenship and Immigration Services. As



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  District Director, she is designated by the Secretary of Homeland Security to administer and

  enforce the immigration laws within Miami. One of the duties of USCIS is the processing of

  naturalization applications. She maintains her office at 8801 NW 7th Avenue, Miami, FL 33150.

                                     LEGAL BACKGROUND

  16.    The Immigration and Nationality Act ("INA") provides, in general, for the admission,

  expulsion, regulation, and naturalization of noncitizens. 8 U.S.C. § 1101 et seq.

  17.    Title III, Chapter 2, of the INA provides for citizenship through naturalization. Pursuant

  to 8 U.S.C. § 1427(a):

         No person, except as otherwise provided in this subchapter, shall be naturalized
         unless such applicant, (1) immediately preceding the date of filing his application
         for naturalization has resided continuously, after being lawfully admitted for
         permanent residence, within the United States for at least five years and during
         the five years immediately preceding the date of filing his application has been
         physically present therein for periods totaling at least half of that time, and who
         has resided within the State or within the district of the Service in the United
         States in which the applicant filed the application for at least three months, (2) has
         resided continuously within the United States from the date of the application
         up to the time of admission to citizenship, and (3) during all the periods
         referred to in this subsection has been and still is a person of good moral
         character, attached to the principles of the Constitution of the United States, and
         well-disposed to the good order and happiness of the United States.


  18.    Pursuant to 8 U.S.C. § 1446 and 8 CFR § 316.14, after an application for naturalization is

  file, USCIS conducts an examination of the applicant. The examination is “limited to inquiry

  concerning the applicant’s residence, physical presence in the United States, good moral

  character, understanding of and attachment to the fundamental principles of the Constitution of

  the United States, ability to read, write, and speak English, and other qualifications to become a

  naturalized citizen as required by law.” 8 U.S.C. § 1443(a); see also 8 U.S.C. § 1423 (requiring

  understanding of English, fundamentals of history and of government of the United States).




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  19.     After USCIS conducts the examination under 8 U.S.C. § 1446, it has 120 days within

  which to make a determination on the application. 8 U.S.C. § 1447(b).

  20.     If USCIS fails to make a determination within 120 days, the applicant may apply to the

  United States district court for a hearing. 8 U.S.C. § 1447(b). The court may either make a

  determination on the application or remand the case back to USCIS with instructions to

  adjudicate the case. Id. 8 U.S.C. §1447 says:


          (a) If, after an examination under section 335 an application for naturalization is
          denied, the applicant may request a hearing before an immigration officer.

          (b) If there is a failure to make a determination under section 335 before the end of
          the 120-day period after the date on which the examination is conducted under
          such section, the applicant may apply to the United States district court for the
          district in which the applicant resides for a hearing on the matter. Such court has
          jurisdiction over the matter and may either determine the matter or remand the
          matter, with appropriate instructions, to the Service to determine the matter.

  21.     Naturalization is the act of conferring citizenship on a person who is not a citizen by birth.

  Title V of the Immigration Act of 1990 changed the legal process for naturalization. Previously

  officers of the Immigration and Naturalization Service (INS), as Examiners for State and Federal

  Courts, had investigated and documented cases for initial decision by the Judges of these courts.

  Under the present statute, cases are adjudicated by the U.S. Citizenship and Immigration Services

  and need not be decided by Courts unless the applicant seeks a change of name. However,

  provision is made for judicial review, if administrative naturalization is denied or delayed by 8

  U.S.C. § 1421(c). This provision also allows for a trial de novo.

  22.          In order to qualify for judicial naturalization, the applicant lawful permanent resident

  must:

          a.        have applied for naturalization and been refused;

          b.        have sought administrative review under 8 U.S.C. §1447 and been refused;


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         c.      seek relief in the appropriate U.S. District Court, which is this action.

         As set forth in this complaint, the delay in adjudication is a constructive denial of the

  application and a refusal to provide administrative review. Inaction on an application meets the

  first two requirements set forth above.

                                                FACTS

  23.    Petitioner Tellado has been a lawful permanent resident of the United States for over 12

  years. He was admitted into the United States on a B-2 Visa on December 11, 2003, and adjusted

  to the status of LPR on December 10, 2018. (Exhibit A, Notice to Appear, Exhibit B, Lawful

  Permanent resident Card)

  24.    Mr. Tellado received an order of cancellation of removal for all his previously committed

  crime on November 13, 2014. (Exhibit C, grant of cancellation of removal by Immigration

  Judge) Mr. Tellado promptly filed a naturalization application on July 9, 2018, (Exhibit D,

  Naturalization Application, N-400, exhibit E, N-400 receipt) and on December 10, 2018,

  (Exhibit F, Interview Notice for December 10, 2018,) he passed all required portions of his

  naturalization interview and examination. He has been waiting for a decision on his application

  ever since that date.

  25.    On December 10, 2018, USCIS conducted Mr. Tellado’ naturalization application

  interview pursuant to 8 U.S.C. § 1446. Mr. Tellado was informed he had passed the examination

  but that Legal would have to review the file prior to approval.

  26.     Pursuant to 8 U.S.C. § 1447(b), USCIS was required to issue a decision on Mr. Tellado’

  application by April 8, 2019, one-hundred and twenty (120) days after Mr. Tellado’s N-400

  interview and examination.




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  27.    On March 6, 2019, counsel went to a USCIS “InfoPass” customer service appointment to

  inquire as to the current status of Mr. Tellado’ N-400 application. USCIS informed counsel that

  the application and appeal was still pending. (Exhibit G, InfoPass confirmation)

  28.      To date, more than one-hundred and twenty (120) days after Mr. Tellado’s N-400

  interview and examination, USCIS has not issued a decision regarding Mr. Tellado’

  naturalization application. The application is still pending.

  29.    The delay in his application has caused Mr. Tellado serious anxiety and difficulty. Mr.

  Tellado owns an import and wholesale business and has many foreign clients. He needs to travel

  out of the country. Petitioner has not been able to travel anywhere outside the United States, out

  of concern that he may be further detained by ICE at the border. Mr. Tellado seeks the security

  of U.S. citizenship, and would be proud to take the oath and become a citizen, but instead has

  been living in a state of constant uncertainty.

                                        CLAIM FOR RELIEF
                                            COUNT I

  27.    The allegations contained in paragraphs 1 through 29 above are repeated and realleged as

  though fully set forth herein.

  28.    The District Director’s failure to make a decision on Mr. Tellado’s application for

  naturalization after more than one-hundred and forty (140) days is a violation of her statutory

  duty under 8 U.S.C. § 1447(b), which requires him to make a decision within 120 days of an

  examination conducted under 8 U.S.C. § 1446.

                                               COUNT II

  29.    The allegations contained in paragraphs 1 through 29 above are repeated and realleged as

  though fully set forth herein.




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  30.    The USCIS failure to adjudicate Mr. Tellado’ application for naturalization lawful

  permanent residence violates the Immigration and Nationality Act (INA). In particular, 8 U.S.C.

  §1447(b) requires the USCIS to issue a decision within one-hundred and twenty (120) days of an

  applicant being interviewed. Mr. Tellado paid the filing fee and filed the application for

  naturalization with the USCIS. The USCIS had the interview and now must make a decision.

  The statute provides that action be taken within one-hundred and twenty (120) days from the

  date of the interview. 8 U.S.C. §1447(b). It further allows for judicial review if there is inaction

  on the application. 8 U.S.C. §1421(c).

                                             COUNT III

  31.     The allegations contained in paragraphs 1 through 29 above are repeated and realleged as

  though fully set forth herein.

  32.      The USCIS failure to adjudicate Mr. Tellado’ application for naturalization violates the

  Administration Procedure Act (APA). The Agency failure to act for more than one year after the

  filing in this matter is unlawful under the APA. The APA, 5 U.S.C. §706(1) allows a Court to

  compel agency action unlawfully withheld or unreasonably delayed. Simply put, the Government

  does not have a ground for delaying the action in this case.

                                              COUNT IV

  33.    The allegations contained in paragraphs 1 through 29 above are repeated and realleged as

  though fully set forth herein.

  34.    The USCIS failure to adjudicate Mr. Tellado’ application for lawful Naturalization

  represents a total failure to act. Such a failure is a violation of Due Process under the

  Constitution and is a violation of a duty owed to the Petitioner. Therefore, it is requested that this

  Court issue an order under its Mandamus powers as set forth in 28 U.S.C. §1361.



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  35.    There is no dispute that Mr. Tellado’ administrative file demonstrates that he meets all

  the elements of the above referenced section. The instant application has been delayed by

  government inaction in completing administrative security clearances, which does not involve

  any exercise of discretion. The government cannot by inaction abuse its authority by failing to

  make a decision. Accardi v. Shaughnessy, 347 U.S. 260, 74 S.Ct. 499, 98 L.Ed. 681 (1954) The

  U.S. Supreme Court reversed and remanded an INS District Director’s decision on the grounds

  that he had not actually exercised discretionary action. While the government has discretion, it

  does not have the discretion to infinitely delay making a decision. The failure of the government

  to make a decision is a violation of the type of duty identified in 28 U.S.C. §1361. Under

  Mandamus, this Court has the power to compel action to perform that duty although it cannot

  mandate whether the decision is to approve or to deny.

                                              COUNT V

  36.     The allegations contained in paragraphs 1 through 29 above are repeated and realleged as

  though fully set forth herein.

  37.    To the extent that the Government’s actions in this matter are not supported by substantial

  justification, attorney’s fees are appropriate. The Equal Access to Justice Act, as amended, 5

  U.S.C. § 504 and 28 U.S.C. § 2412 (the "EAJA"), provides for the award of costs and

  attorney's fees to a prevailing party in litigation against the United States or one of its

  agencies. Plaintiff respectfully requests that this Court grants “EAJA” costs and fees as

  provided by statute.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays that this Court either:

         (1)     Hold a hearing on the merits of Mr. Tellado’s application for naturalization and

         grant the application if he is qualified;
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         (2)     Declare the refusal by defendants to adjudicate his application for adjustment of

         status to be contrary to law; or

         (3)    Remand the matter to USCIS with an order to adjudicate his application within

         30 days.

         (4) Plaintiff also requests that the Court award Plaintiff his costs and reasonable

         attorney’s fees in this action as provided for by the Equal Access to Justice Act, 28

         U.S.C. § 2412, or other statute; and

         (5) Grant such further relief that this Honorable Court may deem just and proper.

  Dated: April 28, 2019, at Miami, Florida


                                                Respectfully submitted,

                                                LAW OFFICE OF JULIO GUTIERREZ, P.A.
                                                2464 S.W. 137 Avenue
                                                Miami, Florida 33175
                                                Tel: (305) 325-8600

                                                /s/ Julio Gutierrez

                                                JULIO GUTIERREZ
                                                Florida Bar No. 602426
                                                jgpa@msn.com




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